
The Supreme Court affirmed the decree of Orphans’ Court ■on February 2, 1884, in the following opinion':
Per Curiam.
This fund was correctly distributed. It was decreed to be paid to Elizabeth Gilmore, as an heir of Mrs. Sydney Connell. 'The correctness of this decree is not questioned. Mrs. Gilmore having died before the money was paid to her, the appellant, who is both heir and administrator of Mrs. Connell, refused to pay it to the appellee, who is the administrator of Mrs. Gilmore, but the Court ordered it to be so paid. In this there is no error. If the appellant has any claim against Mrs. ■Gilmore arising from any understanding with her in relation to the expenses in contesting the will of Mrs. Connell, it is not to be settled by withholding from the appellee the sum decreed to be paid to Mrs. Gilmore. He cannot interpose such a claim as a set off to the sum which he as Administrator was ■obliged to pay. The o:der to pay it to her administrator is clearly right.
Decree affirmed and appeal dismissed at the costs of the appellant.
